 Case 2:18-cv-00196-GJQ-PJG ECF No. 16 filed 05/09/19 PageID.232 Page 1 of 1



                         UNITED STATES OF DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                       MINUTES

CASE CAPTION:          Doe v. Northern Michigan University, et al.

Case No.        2:18-CV-196
Date:           May 9, 2019
Time:           2:30 - 3:25 PM




APPEARANCES:


For the Plaintiff:     Adam M. Taub

For Defendants:        Sarah J. Hartman




NATURE OF HEARING:

Oral argument on Defendants’ Motion to Dismiss (ECF No. 6)




Courtroom Clerk: L. Resendiz                                Court Recorder: S. Carpenter
